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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

OPENPRINT LLC,                       )
                                     )
                   Plaintiff,        )
                                     )
              v.                     )   C.A. No. 18-649 (MN)
                                     )
BROTHER INTERNATIONAL                )
CORPORATION,                         )
                                     )
                   Defendant.        )

ENCODITECH LLC,                      )
                                     )
                   Plaintiff,        )
                                     )
              v.                     )   C.A. No. 18-864 (MN)
                                     )
QARDIO, INC.,                        )
                                     )
                   Defendant.        )

ORTIZ & ASSOCIATES CONSULTING,       )
LLC,                                 )
                                     )
                   Plaintiff,        )
                                     )
              v.                     )   C.A. No. 18-1265 (MN)
                                     )
ROKU, INC.,                          )
                                     )
                   Defendant.        )

TRACKTIME, LLC,                      )
                                     )
                   Plaintiff,        )
                                     )
              v.                     )   C.A. No. 18-1518 (MN)
                                     )
AMAZON.COM, INC., et al.,            )
                                     )
                   Defendants.       )
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 SANBOX SOFTWARE, LLC,                            )
                                                  )
                        Plaintiff,                )
                                                  )
                v.                                )     C.A. No. 18-1649 (MN)
                                                  )
 18BIRDIES, LLC,                                  )
                                                  )
                        Defendant.                )

                                             ORDER

               WHEREAS, the Court has received numerous motions challenging one or more

claims of the patent(s)-in-suit in the above-captioned actions as being directed to patent-ineligible

subject matter under 35 U.S.C. § 101 (hereinafter “101 Motions”);

               WHEREAS, the Court believes certain efficiencies in resolving 101 Motions might

be attainable by hearing argument on multiple such motions at essentially the same time; and

               WHEREAS, the Court seeks to use its limited resources in a manner that may

promote “the just, speedy, and inexpensive determination of every action and proceeding”

(FED. R. CIV. P. 1).

               THEREFORE, IT IS HEREBY ORDERED this 22nd day of March 2019 that:

               1.      The Court will hear argument on the following 101 Motions at a combined

hearing on June 14, 2019 from 9:00 a.m. to 1:00 p.m. and from 3:00 p.m. to 5:00 p.m.:

                 CIVIL ACTION                                         MOTION

  C.A. No. 18-649 (MN)                                Brother International Corp.’s Motion to
  OpenPrint LLC v. Brother International              Dismiss for Failure to State a Claim
  Corporation                                         (D.I. 10)

                                                      Qardio, Inc.’s Motion to Dismiss for
  C.A. No. 18-864 (MN)                                Failure to State a Claim
  Encoditech LLC v. Qardio, Inc.
                                                      (D.I. 17)




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                 CIVIL ACTION                                         MOTION

  C.A. No. 18-1265 (MN)                               Roku, Inc.’s Motion to Dismiss for
  Ortiz & Associates Consulting, LLC v. Roku,         Failure to State a Claim
  Inc.                                                (D.I. 9)

                                                      Defendants’ Motion to Dismiss for
  C.A. No. 18-1518 (MN)                               Failure to State a Claim
  TrackTime, LLC v. Amazon.com, Inc., et al.
                                                      (D.I. 14)

                                                      18Birdies, LLC’s Motion to Dismiss for
  C.A. No. 18-1649 (MN)                               Failure to State a Claim
  Sandbox Software, LLC v. 18Birdies, LLC
                                                      (D.I. 7)

               2.      The hearing will be held in Courtroom 4A. Each party in each of the above-

captioned actions must be represented by at least one attorney for the entire duration of the hearing.

The Court may call for argument on any of the 101 Motions at any time during the hearing.

               3.      On or before June 6, 2019, each party in each of the above-captioned actions

shall file a one-page letter informing the Court which Supreme Court or Federal Circuit case that

party contends is most similar to the challenged claim(s). That is, each party is to identify which

case provides the best analogy if this Court is to compare the claim(s) at issue in the 101 Motion

to claims previously found to be patent (in)eligible by a higher court.




                                                       The Honorable Maryellen Noreika
                                                       United States District Judge




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